Case 2:05-Cv-02186-.]PI\/|-tmp Document 26 Filed 07/26/05 Page 1 of 4 Page|D 36

 

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wESTERN DIVIsIoN 05 JUL 25 PH 3‘ 118
CLEFK u.s. nsncrcotm

PEARL J. PIGUES, a Tennessee resident, W,D {}F * ;_,L;jl,pH;S

Plaintiff,

v. Case No. 05~2186 Ml P

)
)
)
)
§
GMAC MORTGAGE CORPORATION, )
a Pennsylvania Corporation, and )
WILSON & ASSOCIATES, P.L.L.C. )
Attomeys at Law, an Arkansas Limited )
Liability Company, )

)

)

Defendants.

 

.| ORDER EXTEND CERTAIN DEADLINES PENDING MEDIATION

 

It appears to the Court that the parties are in agreement that, in light of a scheduled
upcoming mediation among the parties on August 17, 2005, certain deadlines in this case should
be extended pending mediation Accordingly, the following deadlines are extended as follows:

1. The July 20, 2005, deadline for defendants to respond to plaintist pending
partial summary judgment motion is extended through September 16, 2005.

2. The July 29, 2005, deadline for defendants to respond to the interrogatories,
requests for production of documents, and request for admissions that have been served upon
them by plaintiff is extended through September 16, 2005,

3. The August I, 2005, deadline for amending pleadings and joining parties is

extended through September 16, 2005.

This document entered on the docket shea

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Case 2:05-Cv-O2186-.]PI\/|-tmp Document 26 Filed 07/26/05 Page 2 of 4 Page|D 37

4. The August 10, 2005, deadline for plaintiff to respond to the interrogatories and
request for production of documents served upon her by defendant Wilson & Associates,
P.L.L.C. is extended through September 16, 2005.

5. The August 10, 2005, deadline for plaintiff to respond to the interrogatories and
request for production of documents served upon her by defendant GMAC Mortgage

Corporation is extended through September 16, 2005.

"::%e\

TED STATES MAGISTRATE IUDGE
TU M. PHAM

Date: jolla 121 506-

IT IS SO ORDERED.

 

 

 

ESTRNE 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CV-02l86 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

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Honorable J on McCalla
US DISTRICT COURT

Filed 07/26/05 Page 4 of 4 Page|D 39

